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                       UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF CALIFORNIA

                                       Criminal Minutes

Date: March 1, 2023                  Judge: Honorable Charles R. Breyer

Court Reporter: Marla Knox
Time: 20 Minutes
Case No.: CR21-0274-2 CRB
Case Name: USA v. Jarrod Copeland (Present) (CUSTODY)

Attorney(s) for Government: Eric Cheng
Attorney(s) for Defendant(s): John Ambrosio
Probation Officer: Melissa Moy

Deputy Clerk: Lashanda Scott


                                        PROCEEDINGS

Sentencing hearing held. The Court sentenced the defendant to the Bureau of Prisons to a term of
54 months on each of Counts One and Six, all counts to be served concurrently. Defendant
placed on supervised release for a term of 3 years on each of Counts One and Six, all such
terms to run concurrently under the standard and special conditions. Defendant shall pay a
special assessment of $200. The Court finds the defendant does not have the ability to pay a fine
and the Court orders it waived. Refer to Judgment for additional information. Defendant in
custody at Santa Rita Jail.
